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15                                  UNITED STATES DISTRICT COURT

16                                 NORTHERN DISTRICT OF CALIFORNIA

17                                        SAN JOSE DIVISION

18   FEDERAL TRADE COMMISSION,                         Case No. 5:17-cv-00220-LHK

19                    Plaintiff,                       QUALCOMM INCORPORATED’S PRE-
                                                       TRIAL BRIEF
20             v.
                                                       Dept.:     Courtroom 8, 4th Floor
21   QUALCOMM INCORPORATED, a                          Judge:     Hon. Lucy H. Koh
     Delaware corporation,
22                                                     Trial Date: January 4, 2019
                      Defendant.
23

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 1   I.        INTRODUCTION

 2             The FTC’s allegations in this case have no basis in sound antitrust precedent and are

 3   inconsistent with the real-world evidence the Court will hear at trial. Rather than attacking

 4   anticompetitive conduct that inflicts actual damage and distorts competition, the FTC seeks to

 5   enjoin legitimate, procompetitive business practices that facilitated the growth of a phenomenally

 6   successful industry that bears all the hallmarks of healthy and vigorous competition. The FTC’s

 7   theories of harm lack empirical and evidentiary support and ignore historic and current market

 8   realities. The Court should decline to follow the FTC down a path that strays from sound

 9   antitrust principles, and would reconfigure an entire industry, upend hundreds of existing business

10   relationships, and stifle continued innovation in cellular technology.

11             Pointing to no antitrust action remotely like this one, the FTC asks the Court to embrace

12   misguided theories of antitrust liability and anticompetitive harm that will not withstand scrutiny.

13   The FTC contends that: (1) Qualcomm’s alleged market power in the CDMA and “premium

14   LTE” modem chip markets—and its practice of selling modem chips only to Qualcomm

15   licensees—forced OEMs to pay supra-FRAND patent royalty rates that acted as a “tax” on

16   competing modem chips in those alleged markets; (2) Qualcomm has an antitrust duty to license

17   its cellular standard essential patents (“SEPs”) to rival modem chip manufacturers even though

18   licensing SEPs only at the handset level is a widespread industry practice that in no way suggests

19   anticompetitive malice; (3) two of Qualcomm’s business agreements with Apple—which Apple

20   sought and for which Apple received billions of dollars in consideration—somehow harmed

21   Apple, other OEMs, and hurt competition; and (4) these practices, taken together, substantially

22   harmed competition in the two alleged modem chip markets.

23             None of these theories holds water. The FTC’s convoluted “tax” theory runs headlong

24   into the Supreme Court’s opinion in Pacific Bell Telephone Co. v. linkLine Communications, Inc.,

25   555 U.S. 438 (2009), which forecloses “price squeeze” theories of this sort. The FTC’s refusal-

26   to-deal theory—which enabled it to escape linkLine at the pleading stage—will likewise collapse

27   at trial. Qualcomm has no antitrust duty to deal with competing chipmakers—not based on

28   alleged commitments made to standards-development organizations (“SDOs”) or for any other

                                                        1
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 1   reason. Indeed, the Assistant Attorney General for the U.S. DOJ’s Antitrust Division recently

 2   stated that “an antitrust cause of action premised on a failure to abide by FRAND commitments

 3   would be inconsistent with Section 2 of the Sherman Act.”1 The FTC will also fail to prove a

 4   critical element of its case: that Qualcomm’s royalty rates were above FRAND. Indeed, the sole

 5   expert it relies on for this crucial assertion offers an internally inconsistent, biased, and arbitrary

 6   analysis that is divorced from the evidence. Finally—and most fundamentally—the FTC will

 7   point to no evidence showing that any competing chipmaker left the market or was foreclosed

 8   from competing because of Qualcomm’s licensing practices. On the contrary, entry has increased

 9   and Qualcomm’s share of chip sales in the alleged markets has dropped precipitously.

10             The Court will hear evidence regarding Qualcomm’s technological innovations, modem

11   chip business, licensing program, and the fierce competitive landscape that characterizes the

12   alleged CDMA and “premium LTE” chip markets.2 The evidence will reveal a company that:

13            achieved technical superiority through foresight, skill, and massive, risky investments;
14            repeatedly catapulted the global cellular industry to new levels through its technology and
               product innovations, and whose patents are valued for doing so;
15
              established fair and reasonable licensing terms for each generation of cellular technology,
16             both before the standards were adopted and before it sold a single chip;
              never sought to increase its rates as its patent portfolio grew and its chips gained
17
               commercial success; and
18            has seen its share of chip sales fall in recent years as competition has continued unabated.

19             The Court will also hear evidence showing a healthy, competitive, and thriving cellular

20   industry at all levels: technology, chips, and end-consumer cellular devices. The purported

21   CDMA and “premium LTE” markets are no exception. Prices keep falling. Product quality

22   keeps improving. Consumer choices for cellular devices keep broadening. Data speeds keep

23

24   1
       See Makan Delrahim, Assistant Attorney General, U.S. Dep’t of Justice Antitrust Div., Antitrust
     Law and Patent Licensing in the New Wild West, at 2 (Sept. 18, 2018), https://bit.ly/2Terx0F; see
25   also Joseph Simons, Chairman, U.S. Fed. Trade Comm’n, Prepared Remarks at the Georgetown
     Law Global Antitrust Enforcement Symposium, at 5–6 (Sept. 25, 2018), https://bit.ly/2ES1OHj
26   (“[A] breach of a FRAND commitment, standing alone, is not sufficient to support a Sherman Act
     case, and the same is true even for a fraudulent promise to abide by a FRAND commitment.”).
27   2
      Qualcomm disputes that the FTC can properly define these markets for antitrust purposes. For
28   example, the FTC has offered ever-shifting and inconsistent definitions of a “premium” LTE
     chipset. For purposes of this brief, Qualcomm will assume arguendo that the markets exist.
                                                         2
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 1   increasing. Innovation and R&D investment keep expanding. And competitors come and go

 2   based on their ability to satisfy relentless, market-driven demands.

 3             What the Court will not hear is evidence demonstrating that any of Qualcomm’s

 4   challenged conduct caused anticompetitive effects—let alone substantial ones—in a properly

 5   defined market, as is required to establish an antitrust violation. Instead, the FTC will rely on a

 6   theory of harm that assumes anticompetitive effects could occur, but neither proves them nor

 7   links any actual outcomes to the challenged practices. The Court will see no evidence showing

 8   that Qualcomm foreclosed any competitor from competing in the alleged CDMA or “premium

 9   LTE” chip markets, and no evidence proving that Qualcomm’s now-ended business agreements

10   with Apple harmed anyone in the industry—least of all Apple (which made billions from the

11   deals) or Intel (which now supplies 100% of modems for Apple’s latest iPhones and iPads).

12             Also absent from this case will be any evidence regarding current competitive

13   conditions—a failure of proof that dooms the FTC’s request for injunctive relief. The FTC, by its

14   own admission, makes no attempt to address competitive conditions beyond 2016, asking the

15   Court to take it on faith that competitive harm traceable to Qualcomm’s conduct will necessarily

16   occur without an injunction. This falls well short of establishing a legal right to injunctive relief,

17   especially relief as broad and potentially disruptive as the FTC seeks.

18             In sum, the FTC offers the Court an antitrust liability theory lacking support in precedent,

19   sound antitrust policy, or most importantly, the facts. It reflects the type of overreach that

20   contravenes antitrust law’s purposes because it threatens to chill, rather than protect, competition

21   and innovation. Qualcomm looks forward to defending itself at trial and to exposing the FTC’s

22   theories as factually unsupported and legally faulty. After hearing the evidence and faithfully

23   applying the law, the Court should deny the FTC’s request for injunctive relief.

24   II.       RELEVANT BACKGROUND
25             A.     Qualcomm owes its success to innovation and technical superiority.
26                    1.      Qualcomm’s Fundamental Cellular Inventions
27             Today, Qualcomm is a global leader in cellular technology. But thirty years ago, it was a

28   fledgling technology startup competing in an industry dominated by large, established companies
                                                         3
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 1   such as AT&T, Motorola, Ericsson, and Nokia. The principal issue confronting the nascent

 2   cellular industry at the time was how to utilize scarce bandwidth more efficiently to bring cellular

 3   communications to a broad market. Many major industry players and their home governments

 4   supported a technology known as “time division multiple access,” or TDMA, which allowed

 5   users to use the same limited spectrum sequentially. But Qualcomm had a different—and

 6   better—idea: it invented “code division multiple access,” or CDMA, for commercial cellular

 7   applications, which coded and sent users’ signals simultaneously across the airwaves.

 8             Facing an entrenched and cynical industry intent on deploying TDMA, Qualcomm alone

 9   took risk after risk to prove that CDMA represented a revolution in cellular communications.

10   Seeing CDMA’s promise, a handful of operators across the world deployed 2G CDMA networks,

11   including in the United States, Korea, and Japan. While rolling out CDMA, Qualcomm also

12   developed additional, fundamental inventions focused on transmitting data across CDMA

13   networks, an application that cellular carriers initially dismissed as pointless but wound up

14   enabling wideband wireless access to the Internet. In the end, and against the odds, Qualcomm’s

15   CDMA technologies covering both voice and data transmissions became the backbone of all 3G

16   cellular technology. True to its innovative roots, Qualcomm did not stop there. Recognizing

17   early on that data transmission and mobile internet access would be the future of cellular

18   communications, Qualcomm continued to develop technologies key to today’s high-data,

19   bandwidth-intensive applications, many of which were ultimately standardized as 4G LTE.

20             None of this innovation comes easily—or cheaply. Since its inception, Qualcomm has

21   invested billions of dollars in R&D, ensuring that it remains at the leading edge of technological

22   innovation. It is no stretch to say that the cellular revolution the world has experienced over the

23   past 30 years would not have happened without Qualcomm taking successive business risks by

24   developing, investing in, and improving CDMA, and then pivoting to invest in LTE a full decade

25   before it was standardized. Qualcomm’s work now carries on into 5G technology, which

26   Qualcomm began investing in years ago.

27                    2.     Qualcomm’s Industry-Leading Modem Chips
28             Qualcomm has also become a leading-edge manufacturer of chips that support cellular
                                                       4
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 1   communications. These chips primarily take two forms: (1) advanced multi-mode modem chips

 2   that support cellular devices’ connection to multiple cellular networks, such as CDMA,

 3   WCDMA, LTE, LTE-Advanced, GSM, or TD-SCDMA networks, and (2) sophisticated systems-

 4   on-a-chip (“SOCs”) that include the multimode functionality described above, plus an application

 5   processor, a graphics processor, global positioning, and other functionality all integrated onto a

 6   single piece of silicon. Qualcomm’s success in integrating these diverse functions created the

 7   demand for cellular SOCs, a product category Qualcomm pioneered.

 8             The evidence will show that Qualcomm’s success in CDMA and “premium LTE” modem

 9   chip sales had nothing to do with the convoluted “tax” theory underlying the FTC’s case. Indeed,

10   the FTC will fail to show a single contemporaneous document suggesting that Qualcomm’s

11   royalties disadvantaged rival suppliers. Rather, OEMs chose Qualcomm’s modem chips because

12   they are first to market and technically superior (often dramatically so) to competitors’ offerings.

13             B.     Qualcomm’s Patent Portfolio
14             Qualcomm’s goal has always been to propagate its cellular technologies broadly so that

15   many manufacturers would adopt them, benefitting Qualcomm and the entire industry. To further

16   that goal, Qualcomm has participated in SDOs, which adopted many of Qualcomm’s innovations

17   as the foundation of cellular standards. Qualcomm’s technical leadership in standards is a

18   product of Qualcomm’s early-stage investment and massive efforts to prove to the industry that

19   its ideas actually work and provide tangible benefits in complex, real-world situations.

20             Qualcomm is widely recognized for the strength, diversity, and size of its cellular SEP

21   portfolio, as well as its extensive portfolio of other standard-essential and non-standard-essential

22   patents.

23                                                      Most importantly, the market itself has

24   established and confirmed the value of Qualcomm’s patent portfolio. Hundreds of licensees,

25   including some of the world’s largest, most sophisticated, and most profitable companies, have

26   agreed to license Qualcomm’s patents at the market rates the FTC now attacks.

27             C.     Qualcomm’s Licensing Practices
28             Almost thirty years ago, as a technology startup in need of cash to fund its R&D activities,
                                                        5
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 1   Qualcomm began licensing its CDMA technology in exchange for an up-front fee and a (hoped-

 2   for) running royalty that the licensee would pay if CDMA ever became commercialized and if the

 3   licensee ever sold CDMA devices. This approach allowed Qualcomm to recover the value of its

 4   intellectual property without needing to sell any end-user cellular products. This framework

 5   continues through today, and through scores of arm’s-length negotiations, licensees have agreed

 6   to pay Qualcomm royalties commensurate with the patent portfolio’s value.

 7             In general, Qualcomm’s licenses have been governed by an agreement called a subscriber

 8   unit license agreement, or “SULA.” Although SULAs’ terms vary, generally they require an up-

 9   front payment, a cross-license, and running royalties calculated at 5% of the handset’s net selling

10   price, subject to certain caps. The cap is currently $400, which translates to a maximum royalty

11   of $20 per device. The license usually includes Qualcomm’s cellular and non-cellular SEPs, as

12   well as its non-standard essential patents (“NEPs”), which cover technologies found throughout

13   the finished handset. Qualcomm’s licenses grant OEMs access not only to Qualcomm’s existing

14   SEPs, but also typically to future SEPs that would be adopted into future releases of the standard.

15             To buy a Qualcomm chip, an OEM must have a license to make and sell devices that

16   implement at least one of the technologies enabled by the chip. For example, Qualcomm would

17   sell CDMA modem chips—including multimode LTE/CDMA—to any OEM that has a license to

18   make and sell CDMA handsets. Qualcomm would sell WCDMA chips—including multimode

19   LTE/WCDMA—to any OEM that has a license to make and sell WCDMA handsets. Any OEM

20   with a 3G agreement can therefore buy what the FTC calls “premium LTE” Qualcomm chips

21   (which, by and large, are multimode 2G/3G/4G chips); a separate LTE license is not required.

22   The evidence will show that Qualcomm has always required chip customers to first obtain a

23   license covering the devices in which the chips would be incorporated because Qualcomm has

24   never priced its intellectual property into its chip prices; OEMs that bought Qualcomm chips

25   without a license would be using Qualcomm’s intellectual property for free.

26             Understanding when OEMs agreed to Qualcomm’s license terms and royalty rates is

27   crucial to assessing the FTC’s liability theory. The evidence will show that more than 100

28   OEMs took licenses on Qualcomm’s typical terms at times when Qualcomm indisputably
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 1   lacked market power in the modem chip markets that the FTC claims distorted negotiations.

 2   For example, OEMs agreed to the CDMA royalty rates that the FTC now contends must be the

 3   product of purported market power before CDMA standardization; before Qualcomm started

 4   selling CDMA chips; and before the FTC alleges Qualcomm obtained market power in CDMA

 5   chips. Similarly, OEMs agreed to Qualcomm’s WCDMA royalty rates before WCDMA

 6   standardization; before Qualcomm started selling WCDMA chips; and without ever obtaining

 7   market power in WCDMA chips. What’s more, some OEMs took licenses on the very same

 8   terms without ever buying Qualcomm modem chips.

 9             The royalty rates for each standard have remained largely consistent over time. Qualcomm

10   did not increase them when its chip market share increased; when (according to the FTC) it

11   obtained market power in CDMA or “premium LTE” chips; or when SDOs incorporated its

12   technologies into standards. Indeed, Qualcomm has consistently capped the royalties it collects,

13   limiting them to a small percentage of the selling price of today’s most expensive handsets.

14             Finally, like its peers in the cellular industry, Qualcomm has licensed its patents

15   exhaustively only at the device level, rather than at multiple levels in the phone-production chain.

16   The evidence will confirm that this has been standard practice since the industry’s beginning.

17   The evidence will demonstrate that Qualcomm (and others) license at the device level because

18   that licensing structure (a) is more efficient for the licensors, licensees, and the industry in

19   general; and (b) comports with the industry’s longstanding understanding of the IPR policy

20   promulgated by ETSI, the leading SDO in the cellular space. Moreover, despite not licensing

21   exhaustively at the component level, Qualcomm has never asserted its SEPs (except defensively)

22   against competing modem chipmakers. Thus, other chipmakers—including Intel, MediaTek,

23   Samsung, and others—have been free to make and sell modem chips, do so in increasing

24   volumes, and pay no royalties to Qualcomm.

25             D.     Qualcomm’s Former Agreements with Apple
26             Apple is one of the world’s largest designers and marketers of cellular devices. Unlike

27   most other OEMs, which use SOCs, Apple uses “thin modems” for cellular functionality.

28   Chipmakers must design a multimode thin modem to meet Apple’s product needs. Since it
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 1   introduced the first iPhone in 2007, Apple has sourced thin modems from either Infineon/Intel or

 2   Qualcomm, typically relying exclusively on one supplier in any given year. Apple has never been

 3   a Qualcomm licensee; it uses licensed contract manufacturers (“CMs”) to make its products.

 4             In 2011 and 2013, Qualcomm and Apple executed two agreements related to the supply of

 5   modem chips. The agreements were the result of arm’s-length negotiations between sophisticated

 6   parties and—as one of the world’s most profitable companies—Apple had its fair share of

 7   negotiating leverage. It used that leverage to persuade Qualcomm to pay Apple various monetary

 8   incentives totaling more than              over five years, conditioned on Apple’s use of Qualcomm

 9   chips in all its newly-released devices. If Apple decided to use non-Qualcomm chips in certain

10   quantities, the agreements would terminate, and Apple would forego some of the incentives.

11             The Apple-Qualcomm agreements at issue in this case ended in 2016. The evidence will

12   show that, during the agreements’ terms, Apple repeatedly considered and rejected inferior

13   technical solutions that Qualcomm’s competitors offered. But as soon as Intel managed to offer a

14   competitive (though still inferior) thin modem that met Apple’s requirements in late 2016, Apple

15   opted to include Intel chips in its newly released devices, first alongside Qualcomm and then,

16   beginning with 2018 iPhone and iPad models, exclusively from Intel.

17             E.     Current market conditions show that competition continues unabated.
18             The FTC has urged this Court to pay no attention to the world as it exists today, relying

19   instead on evidence predating the March 2018 discovery cut-off by several years, and on experts

20   who express no opinions on the industry post-2016.3 The Court’s December 13, 2018 pretrial

21   order denied Qualcomm’s request to introduce evidence post-dating the March 30, 2018 fact

22   discovery cut-off, including evidence showing a “shift in Qualcomm’s market power since the

23   close of discovery.” ECF 997 at 10. Qualcomm respectfully submits that it would be error to

24   preclude Qualcomm from introducing evidence regarding current market conditions, and instead

25   relying on years-old evidence as a basis to enjoin current and prospective business practices. The

26   3
       More precisely, the FTC asks the Court to consider evidence of current market conditions when
27   the FTC believes it helps its cause, while ignoring evidence of current market conditions when
     such evidence disproves the FTC’s case. Compare FTC Proposed Findings of Fact (“PFOF”) No.
28   128 (referencing Qualcomm’s projected 2018 CDMA market share) with id. Nos. 145–47 (halting
     its “premium LTE” market share analysis in 2016).
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 1   factfinder cannot blind itself to the “realities of the market” as they exist “at the time of trial.”

 2   Brooke Group Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 236, 243 (1993).

 3   Indeed, the Ninth Circuit has made clear that, when it comes to “evaluating monopoly power, it is

 4   not market share that counts, but the ability to maintain market share.” United States v. Syufy

 5   Enters., 903 F.2d 659, 665–66 (9th Cir. 1990). The Court must therefore consider evidence of

 6   market realities right up to the moment the “case c[omes] to trial.” Id. at 665. Doing so is

 7   particularly important for an industry as dynamic as the cellular communications industry.

 8             Even by the discovery cutoff, however, market realities demonstrate that the cellular

 9   industry is healthy, competitive, and thriving—and that Qualcomm’s share of CDMA and

10   “premium LTE” chip sales has been falling drastically as other chipmakers have decided to invest

11   and compete more aggressively. In 2017, Qualcomm sold just 34% of total modem chips

12   worldwide. Qualcomm’s share in the alleged “premium LTE” market fell by more than half

13   between 2012 and 2017, when Qualcomm’s share dropped to 49.2%. And it continues to fall as

14   Apple—a “particularly important” OEM according to the FTC—now sources all modem chips

15   for new-model iPhones and iPads from Intel, while Samsung and Huawei, the two largest OEMs

16   in the world, now make many of their own modem chips, including CDMA and “premium LTE”

17   chips. Qualcomm’s market share in CDMA chips is also falling rapidly as other chipmakers

18   decided to invest in CDMA after China mandated that technology’s use in April 2016; MediaTek,

19   Intel, Samsung, and HiSilicon all now make CDMA chips. These trends are not the result of

20   Qualcomm changing any of the challenged practices at issue in this lawsuit; they are the result of

21   competition in a freely functioning market.

22   III.      LEGAL STANDARDS
23             A.     The FTC Act and the Sherman Act
24             Section 13(b) of the Federal Trade Commission Act (the “FTC Act”) permits the FTC to

25   bring a case in federal district court to enjoin conduct that “is violating, or is about to violate”

26   Section 5 of that statute. 15 U.S.C. § 53(b). The FTC alleges that Qualcomm’s conduct violates

27   Section 5 because it violates both Section 1 and Section 2 of the Sherman Act, and because it

28   violates Section 5 on a standalone basis. The FTC bears the burden of proof for all three claims.
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 1             Section 1 of the Sherman Act prohibits “[e]very contract, combination . . . or conspiracy,

 2   in restraint of trade or commerce among the several states.” 15 U.S.C. § 1. To prove a violation,

 3   the FTC must establish “(1) an agreement or conspiracy among two or more persons or distinct

 4   business entities; (2) by which the persons or entities intend to harm or retrain competition; and

 5   (3) which actually restrains competition.” City of Vernon v. S. Cal. Edison Co., 955 F.2d 1361,

 6   1365 (9th Cir. 1992) (internal quotation marks omitted). In a vertical market case like this one,

 7   the FTC must prove that Qualcomm has market power in a properly defined market and that the

 8   challenged conduct “has a substantial anticompetitive effect that harms consumers in the relevant

 9   market.” Ohio v. Am. Express Co., 138 S. Ct. 2274, 2284 (2018) (emphasis added).

10             To prove a Section 2 violation, the FTC must show “(1) the possession of monopoly

11   power in the relevant market and (2) the willful acquisition or maintenance of that power as

12   distinguished from growth or development as a consequence of a superior product, business

13   acumen, or historic accident.” United States v. Microsoft Corp., 253 F.3d 34, 50 (D.C. Cir. 2001)

14   (internal quotation marks omitted). The FTC must prove that the challenged conduct has “an

15   anticompetitive effect. That is, it must harm the competitive process and thereby harm

16   consumers. In contrast, harm to one or more competitors will not suffice.” Id. at 58 (internal

17   quotation marks omitted). The rule of reason also applies to Section 2 claims. See id. at 59.

18   Accordingly, “[w]hen a legitimate business justification supports a monopolist’s exclusionary

19   conduct, that conduct does not violate § 2 of the Sherman Act.” Image Tech. Servs., Inc. v.

20   Eastman Kodak Co., 125 F.3d 1195, 1212 (9th Cir. 1997).

21             Section 5(a) of the FTC Act prohibits “unfair or deceptive acts or practices in or affecting

22   commerce.” 15 U.S.C. § 45. Defining the “unfair” business practices that Section 5 prohibits is

23   an inherently “elusive” task that risks inviting “arbitrary or undue government interference with

24   the reasonable freedom of action that has marked our country’s competitive system.” E.I. du

25   Pont de Nemours & Co. v. FTC, 729 F.2d 128, 137 (2d Cir. 1984). Accordingly, Section 5 in no

26   way grants the FTC plenary authority to “bar any business practice found to have an adverse

27   effect on competition.” Id. at 136. Section 5 requires showing “anticompetitive effect[s]” similar

28   to what the Sherman Act requires. See Boise Cascade Corp. v. FTC, 637 F.2d 573, 579, 81 (9th
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 1   Cir. 1980). According to the FTC, Section 5 actions are less appropriate if the Sherman Act

 2   suffices to address the challenged conduct and are analyzed under the rule of reason framework.

 3   See Fed. Trade Comm’n, Statement of Enforcement Principles Regarding “Unfair Methods of

 4   Competition” Under Section 5 of the FTC Act at 1 (Aug. 13, 2015).

 5             B.     The Rule of Reason
 6             The FTC has never alleged that any agreement challenged in this case is “per se”

 7   unlawful, nor could it under governing antitrust precedent. See Am. Express Co., 138 S. Ct. at

 8   2283–84. Accordingly, each of the FTC’s claims will be judged under the “rule of reason”

 9   standard, which “weighs legitimate justifications for a restraint against any anticompetitive

10   effects.” Paladin Assocs., Inc. v. Mont. Power Co., 328 F.3d 1145, 1156 (9th Cir. 2003).

11             The rule of reason sets up a burden-shifting framework. The FTC must first show that the

12   challenged conduct “produces significant anticompetitive effects within the relevant product and

13   geographic markets.” Am. Express Co., 138 S. Ct. at 2284. Only if the FTC meets that initial

14   burden is the defendant required to “show a procompetitive rationale for the restraint.” Id. If the

15   defendant does so, then the burden shifts back to the FTC, which must show that “any legitimate

16   objectives can be achieved in a substantially less restrictive manner.” Hairston v. Pac 10

17   Conference, 101 F.3d 1315, 1319 (9th Cir. 1996). Where a procompetitive justification goes

18   unrebutted, the FTC “must demonstrate that the anticompetitive harm of the conduct outweighs

19   the procompetitive benefit.” Microsoft, 253 F.3d at 59 (Section 2 claim); see also County of

20   Tuolumne v. Sonora Cnty. Hosp., 236 F.3d 1148, 1159 (9th Cir. 2001) (Section 1 claim).

21             C.     Antitrust Duty to Deal
22             Absent an antitrust duty to deal, a company has “no obligation to deal under terms and

23   conditions favorable to its competitors.” linkLine, 555 U.S. at 450–51. A contractual obligation,

24   however, in no way equals an antitrust duty to deal. See, e.g., SOLIDFX, LLC v. Jeppesen

25   Sanderson, Inc., 841 F.3d 827, 843 (10th Cir. 2016) (finding no antitrust duty to deal where the

26   parties had a license agreement but no “preexisting voluntary and presumably profitable course of

27   dealing” (internal quotation marks omitted)); In re Adderall XR Antitrust Litig., 754 F.3d 128,

28   135 (2d Cir. 2014) (“The mere existence of a contractual duty to supply goods does not by itself
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 1   give rise to an antitrust ‘duty to deal.’”). The presence of such a duty is crucial in a case

 2   involving a vertically integrated market like this one, in which the FTC has alleged that elevated

 3   prices for one product (patent licenses) reduced profit margins in another product (modem

 4   chips)—i.e., a “price squeeze” claim. In linkLine, the Supreme Court held that, absent monopoly

 5   power and an antitrust duty to deal with rivals upstream, and below-cost predatory pricing

 6   downstream, there is no Section 2 violation. See 555 U.S. at 450–51.4

 7             This Court distinguished linkLine at the pleading stage, concluding that the FTC had

 8   adequately alleged that Qualcomm had an antitrust duty to license its SEPs to competing

 9   chipmakers. See Dkt. No. 134 (“MTD Order”) at 35–46.5 Interpreting Aspen Skiing Co. v. Aspen

10   Highlands Skiing Corp., 472 U.S. 585 (1985), the Court held that Section 2 liability may arise

11   when the defendant “voluntarily alter[s] a course of dealing” and acts with “anticompetitive

12   malice,” and where recognizing an antitrust duty to deal would not “present significant judicial

13   administrability concerns.” MTD Order at 41.

14             Aspen Skiing lies “at or near the outer boundary of § 2 liability,” and this case “does not fit

15   within the limited exception it recognized.” Verizon Commc’ns Inc. v. Law Offices of Curtis V.

16   Trinko, 540 U.S. 398, 409 (2004). Indeed, linkLine itself confirms that no antitrust duty to deal

17   arises from a regulatory or contractual requirement to provide upstream services to rivals.

18   linkLine, 555 U.S. at 443; see also Huawei Techs., Co., Ltd. v. Samsung Elecs. Co., Ltd., 2018

19   WL 4904895, at *10 (Sept. 25, 2018) (“[T]he refusal to deal doctrine of antitrust is wholly

20   inapplicable in the standards arena.”). And, as explained below, the FTC cannot prove that, by

21   refusing to offer SEPs to competing chipmakers, Qualcomm altered a voluntary course of dealing

22   at all, let alone with anticompetitive malice.

23             What’s more, the DOJ’s Antitrust Division recently confirmed that, in its view, a refusal

24   to deal does not violate Section 2 unless “it would make no economic sense for the defendant but

25

26   4
       Qualcomm continues to believe that, because the FTC can neither prove market power and an
     antitrust duty to deal in the upstream market nor predatory pricing in the downstream market,
27   linkLine forecloses its theory as a matter of law. See linkLine, 555 U.S. at 452 & n. 3.
     5
28     The Court has made clear that “whether Qualcomm had an antitrust duty to deal is a distinct
     legal question” that remains unresolved in this litigation. See Hr’g Tr. at 31–32 (Dec. 13, 2018).
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 1   for its tendency to eliminate or lessen competition.” Brief of the United States as Amicus Curiae

 2   at 6, Viamedia, Inc. v. Comcast Corp., No. 18-2852 (7th Cir. Nov. 8, 2018) (emphasis added).6

 3   The United States explained that “coerced dealing can deter innovation, facilitate collusion, and

 4   turn courts into economic regulatory agencies.” Id. Thus, by the government’s own reading of

 5   antitrust law, “[i]f a refusal to deal serves a legitimate business purpose, Section 2 makes no

 6   further inquiry into its effects on competition.” Id.

 7             D.     Anticompetitive Harm
 8             Showing actual and substantial harm to competition is a necessary element of each claim

 9   at issue in this action. See Amarel v. Connell, 102 F.3d 1494, 1522 (9th Cir. 1996) (Section 1

10   claim); Microsoft, 253 F.3d at 58 (Section 2 claim); Boise Cascade, 637 F.2d at 579–81 (Section

11   5 claim). Indeed, the United States Supreme Court has made clear that “the plaintiff has the

12   initial burden to prove that the challenged restraint has a substantial anticompetitive effect that

13   harms consumers in the relevant market.” Am. Express Co., 138 S. Ct. at 2284 (emphasis added);

14   see also Tanaka v. Univ. of S. Cal., 252 F.3d 1059, 1063 (9th Cir. 2001).

15             A showing of competitive harm, standing alone, is insufficient; the FTC must also prove a

16   causal link between the challenged conduct and the actual, significant competitive harm. See

17   Trinko, 540 U.S. at 407; Rambus Inc. v. FTC, 522 F.3d 456, 464 (D.C. Cir. 2008). To prove

18   causation, the FTC must “rule out alternative market-based explanations” for the defendant’s

19   competitive success. It’s My Party, Inc. v. Live Nation, Inc., 811 F.3d 676, 685–86 (4th Cir.

20   2016). Large market share, even for a sustained period, proves nothing; a company can achieve a

21   large market share “simply by virtue of being a better competitor.” Alaska Airlines, Inc. v United

22   Airlines, Inc., 948 F.2d 536, 547 (9th Cir. 1991).

23             In its Proposed Conclusions of Law (“PCOL”), the FTC has misstated the law in a critical

24   way. The FTC contends that all it must do is show “that the restraint or conduct challenged has

25   or reasonably appears capable of having anticompetitive effects.” FTC PCOL No. 50 (emphasis

26
     6
27     The FTC has long taken the same position. See Brief for the United States and the Federal
     Trade Commission as Amici Curiae Supporting Petitioner at 15, Trinko, 540 U.S. 398 (2004)
28   (No. 02-682) (“[C]onduct is not exclusionary or predatory unless it would make no economic
     sense for the defendant but for its tendency to eliminate or lessen competition.”).
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 1   added). That suggests per se illegality and is wrong as a matter of law. The FTC cannot

 2   prevail—indeed cannot meet its initial burden under the rule of reason—without “prov[ing]that

 3   the challenged restraint has a substantial anticompetitive effect that harms consumers in the

 4   relevant market.” Am. Express Co., 138 S. Ct. at 2284 (emphasis added). The FTC cannot satisfy

 5   that burden with theory, conjecture, or “anecdotal speculation and supposition.” Aerotec Int’l,

 6   Inc. v. Honeywell Int’l, Inc., 836 F.3d 1171, 1175 (9th Cir. 2016); see also Qualcomm’s PCOL at

 7   Nos. 598–99 (listing cases demonstrating that economic theory and conjecture are insufficient).

 8   Put simply, the FTC’s burden is a high one, and the Court should hold the agency to it.

 9   IV.       DISCUSSION
10             A.     Qualcomm’s license agreements are the result of arm’s-length negotiations
                      with sophisticated counterparties, not the imposition of market power.
11

12             Qualcomm has long maintained the policy of selling modem chips only to OEMs that

13   have licensed Qualcomm’s relevant cellular SEPs. That policy violates no antitrust duty and

14   serves several legitimate and procompetitive goals. Because chipmakers sell modem chips at

15   prices that fail to reflect the value of standardized cellular technologies, Qualcomm needs a

16   license in place to ensure compensation for its investments in developing those technologies.

17   Qualcomm’s practice also helps ensure a level playing field, so that none of its customers obtain

18   an unfair cost advantage by refusing to pay for the standardized technologies implemented by

19   their handsets. Additionally, Qualcomm’s policy helps to curb underreporting of devices that

20   practice Qualcomm technology, while also reflecting Qualcomm’s interest in doing business only

21   with companies that respect intellectual property rights.

22             The FTC, however, sees Qualcomm’s benign policy of selling its modem chips only to

23   licensees as anticompetitive. It contends that Qualcomm had market power in the supply of

24   CDMA and “premium LTE” modem chips and used that supposed leverage to force OEMs to

25   take supra-FRAND licenses to Qualcomm’s SEPs.7 The evidence will not support that theory.

26   7
       Contrary to the FTC’s apparent theory, large chip market share or high margins do not
27   inexorably lead to “leverage” over any particular OEM. For example, Qualcomm would have no
     “chip leverage” over an OEM that buys Qualcomm chips because they are technically superior
28   but would buy others’ chips if it didn’t like Qualcomm’s terms. To assess any supposed
     “leverage,” one must consider each negotiation with each OEM on a case-by-case basis.
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 1             First, the history of Qualcomm’s licensing negotiations and agreements belies the FTC’s

 2   theory. Scores of OEMs agreed to Qualcomm’s royalty rates before Qualcomm could be said to

 3   have any market power in chips. For example, AT&T and Motorola—two of the most powerful

 4   companies in the cellular industry at the time—licensed CDMA patents in 1990 for an up-front

 5   fee and a reduced 4% royalty rate, five years before a single Qualcomm chip had left the foundry,

 6   and before CDMA had even been standardized. The same is true for Nokia, which signed a

 7   CDMA license in 1992 at a more typical 5% rate. This pattern repeated over a dozen times, with

 8   OEMs taking licenses before Qualcomm sold a single CDMA chip.

 9             The same pattern held for WCDMA—a technology in which the FTC has never even

10   alleged that Qualcomm held chip market power. Sixteen OEMs took WCDMA licenses, at the

11   same rates the FTC claims are unfair, before Qualcomm sold a single WCDMA multimode chip.

12   Sixty-nine OEMs likewise agreed to Qualcomm’s rates before Qualcomm allegedly obtained

13   market power in “premium LTE” chips. Still other OEMs took licenses despite not buying

14   Qualcomm chips for years thereafter, or even at all. Simply put, alleged market power in modem

15   chips did not coerce OEMs to take licenses on non-FRAND terms.

16             Second, Qualcomm did not increase its royalty rates after it (allegedly) obtained market

17   power in CDMA or “premium-LTE” chips. One would expect a monopolist to exert its market

18   power to increase prices once it achieved its monopoly. That did not happen. What’s more,

19   because the FTC has never alleged that Qualcomm possessed market power in WCDMA or “non-

20   premium” LTE chips, the royalty rates charged to OEMs who bought those chips are ideal

21   comparative benchmarks for rates charged to OEMs who bought CDMA and “premium-LTE”

22   chips. Contrary to the FTC’s theory, those rates are identical. This is powerful, market-based

23   evidence that Qualcomm did not exert market power to secure supra-FRAND royalty rates.

24             Third, the primary complainants in this case are sophisticated companies who had their

25   own leverage and used it. They include some of the world’s largest and most profitable

26   companies: Apple, Samsung, Huawei, and others. These are not companies that Qualcomm could

27   push around, and Qualcomm hardly had them over a barrel. In fact, the converse was often true.

28   OEMs regularly used their own leverage as large chip customers to pressure Qualcomm on its
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 1   licensing terms, obtain discounts and marketing incentives, and demand other concessions.

 2             Fourth, the evidence will not support the FTC’s contention that Qualcomm’s licensing

 3   policies prevented licensees from challenging their existing licenses or pushing back on

 4   Qualcomm’s offers to renew expiring agreements. Qualcomm never cut off commercial supply

 5   of chips to an existing customer, and Qualcomm never threatened to interrupt chip supply to a

 6   licensee in good standing just because the licensee sought to renegotiate or challenge an existing

 7   (or expiring) agreement. To the contrary, Qualcomm often agreed to renegotiate license

 8   agreements despite having no duty to do so and routinely engaged in licensing negotiations

 9   without mentioning chip supply. The FTC will point to a handful of examples in which OEMs

10   were reminded of Qualcomm’s well-known practice of selling chips only to licensees, and of their

11   own contractual obligations. But the FTC will fail to prove any instance in which any OEM

12   agreed to terms it otherwise wouldn’t have—let alone to non-FRAND terms—based on the

13   possibility of losing access to modem chips. In fact, Qualcomm often assured OEMs that their

14   chip supply would not be disrupted during licensing negotiations, and during the lone instance

15   when a customer became unlicensed, Qualcomm executives stepped in to ensure that no supply

16   disruption occurred. That is because Qualcomm recognized that cutting off chip supply as a

17   licensing negotiating tactic would undermine business relationships that often took years to

18   develop and destroy the goodwill Qualcomm had established as a reliable supplier and partner.

19             Fifth, the FTC’s “tax” theory is at war with itself. On the one hand, the FTC argues that

20   Qualcomm’s “no license-no chips” policy imposes “an added surcharge” that OEMs “must pay to

21   Qualcomm to ensure continued access to Qualcomm’s modem chip supply.” FTC PFOF No.

22   344. But on the other hand, the FTC argues that OEMs asked for and received massive “incentive

23   funds” that “induced” them to accept royalty rates and terms they would have otherwise rejected.

24   Id. No. 345. Both assertions cannot be true: if Qualcomm’s policy of selling chips only to

25   licensees leaves OEMs with no choice but to pay a supra-FRAND surcharge for years on end,

26   then Qualcomm would have no need to pay hundreds of millions of dollars in incentives to induce

27   those same OEMs to pay that allegedly coerced “tax.” Either Qualcomm’s alleged market power

28   in CDMA and “premium LTE” chips is so pervasive that it forces OEMs to pay supra-FRAND
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 1   royalty rates, or it isn’t. It isn’t, and the FTC can’t have it both ways.

 2             Sixth, large, sophisticated companies continue to sign up to Qualcomm’s licensing

 3   program today, despite Qualcomm’s lower market share in the alleged chip markets and non-

 4   existent 5G chip sales. For example, in January 2018, Samsung signed a new license agreement

 5   covering LTE and 5G technology at essentially the same rate as its existing agreement. Samsung

 6   entered this agreement despite self-supplying both CDMA and “premium LTE” chips,

 7

 8             In sum, the evidence will show that Qualcomm’s royalty rates resulted from arm’s-length

 9   negotiations with sophisticated parties—each with their own negotiating power—rather than from

10   the exertion of market power in a gerrymandered subset of chip sales.

11             B.     Qualcomm’s FRAND royalty rates have caused no anticompetitive effects.
12             Qualcomm has always fulfilled its FRAND obligations to licensees. It consistently

13   established its rates in negotiations occurring before standardization or before any OEM needed

14   its chips. SDO participants typically knew those rates before choosing to incorporate

15   Qualcomm’s innovations into a cellular standard. And OEMs agreed to pay those rates because

16   Qualcomm’s patent portfolio is worth it, not because they were threatened or coerced into doing

17   so. Qualcomm’s rates are market-based, nondiscriminatory, and chip-agnostic. They have

18   remained consistent even as Qualcomm’s chip market share increased and more Qualcomm

19   inventions were incorporated into standards. And, most tellingly, Qualcomm’s rates during

20   periods in which the FTC alleges Qualcomm possessed market power are no different than times

21   when the FTC makes no such allegation. That empirical, market-based evidence demonstrates

22   that there is no anticompetitive harm in this case.

23             The FTC’s FRAND argument rises and falls on the opinions of Michael Lasinski. But

24   Mr. Lasinski’s methods and conclusions are deeply flawed. To assign “portfolio strength

25   metrics” to patent portfolios, he mainly counts standards documents (including editorial and non-

26   technical submissions). His “portfolio strength metrics” therefore give little weight to patent

27   portfolios and no weight to the value of any individual patents within them. He then pronounces

28   a desirable industry-wide, aggregate total on SEP royalties and allocates it among various SEP
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 1   holders according to his flawed “portfolio strength metrics.” This approach finds no support in

 2   the relevant SDO policies, real-world negotiations, or even in the case law on which Mr. Lasinski

 3   himself relies. See TCL v. Ericsson, 2018 WL 4488286, at *41 (C.D. Cal. Mar. 9, 2018) (noting

 4   that using “Approved Contributions” to value patents or apportion an aggregate rate leads to

 5   “incorrect results”). Mr. Lasinski also compares Qualcomm’s royalty rates to rates he

 6   extrapolates from supposedly comparable agreements to license other companies’ patent

 7   portfolios. He then employs transparently circular reasoning to reach his pre-ordained

 8   conclusion: he assumes that the “comparable” rates he selected were reasonable and then derives

 9   “portfolio strength” ratios to explain them.

10             Even if the Court were to credit Mr. Lasinski’s results-oriented and unreliable theory, that

11   would not suffice to prove an antitrust violation. To prevail at trial, the FTC must do more than

12   show that Qualcomm’s royalty rates are “too high” when compared to some expert-invented

13   FRAND royalty range. It must prove that Qualcomm’s royalty rates actually harmed

14   competition. The FTC cannot make that showing. There is no actual, real-world evidence

15   showing that any chipmaker lost a single socket because of Qualcomm’s royalty rates, its policy

16   of selling chips only to licensees, or its decision to license solely at the device level. Nor is there

17   any evidence that Qualcomm’s royalty rates somehow reduced other chipmakers’ incentives or

18   abilities to invest in modem research and development. Rather, the evidence will show that other

19   chipmakers had more than adequate financial resources to invest in research and development,

20   and they decided when and how to do so based on their own assessments of the chip industry—

21   not because of Qualcomm’s royalty rates.

22             The FTC will also fail to show any harm to the overall chip market. On the contrary, chip

23   demand and chip output both increased during the periods when Qualcomm is alleged to have

24   possessed market power, and Qualcomm’s share of the alleged market has declined over time.

25   This real-world, market evidence stands in stark contrast to the central evidence the FTC relies

26   on, namely, self-serving, after-the-fact complaints from OEMs that would like to pay less. That is

27   hardly sufficient evidence of competitive harm in the CDMA or “premium LTE” chip markets.

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 1             C.     Qualcomm’s policy of licensing SEPs only at the device level is consistent with
                      industry practice and is not anticompetitive.
 2

 3             The evidence will show that players in the cellular communications industry have been

 4   licensing their SEPs at the device level since the industry’s infancy. To be sure, this Court has

 5   ruled that, as a matter of contract interpretation, two SDOs’ policies require that SEP-holders

 6   make licenses available at the component level.8 See Dkt. 931. Qualcomm respectfully disagrees

 7   with that conclusion, but it is of no moment because any such contractual obligation in no way

 8   establishes the requisite antitrust duty to deal. See linkLine, 555 U.S. at 443.

 9             Licensing only at the device level has been the prevailing approach for Qualcomm and the

10   cellular communications industry because it is the most efficient way to license the technologies

11   embodied in mobile handsets. Qualcomm holds SEPs and NEPs that are practiced all over a

12   handset device, not just by the modem chip. To avoid the herculean task of distinguishing where

13   each of its over 100,000 patents is practiced, Qualcomm, like all major SEP holders, licenses

14   exhaustively at a single level in the supply chain: the complete device. Because licensing only at

15   the device level rather than at multiple points in the supply chain makes sound economic sense

16   and “serves a legitimate business purpose,” Qualcomm’s decision not to exhaustively license

17   competing chipmakers cannot give rise to Section 2 liability. Novell, Inc. v. Microsoft Corp., 731

18   F.3d 1064, 1075 (10th Cir. 2013).

19             Qualcomm will also present evidence showing that this case falls outside Aspen Skiing’s

20   “limited exception” to the rule that competitors may refuse to deal with their rivals. Trinko, 540

21   U.S. at 409. Qualcomm in no way altered a preexisting, profitable course of conduct. Rather, the

22   evidence will show that Qualcomm has never exhaustively licensed other chipmakers. Instead,

23   Qualcomm—like its industry peers—licenses only at the device level for efficiency’s sake.

24             Aspen Skiing itself makes clear that “[i]n any business, patterns of distribution develop

25   over time; these may reasonably be thought to be more efficient than alternative patterns of

26   distribution that do not develop.” Id. at 604 n.31 (internal quotation marks omitted). Such a

27
     8
28    The Court considered only TIA’s and ATIS’s policies; it did not address ETSI’s policy, which
     does not require component-level licensing.
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 1   “pattern of distribution” developed in the cellular industry with respect to not licensing SEPs at

 2   the chip level, and Qualcomm never “disturb[ed] [that] optimal distribution pattern[]” to exclude

 3   a rival. Id. On the contrary, rival chipmakers like MediaTek, Intel, and others have entered the

 4   market without taking a license from or paying royalties to Qualcomm precisely because

 5   Qualcomm recovers the value of its patent portfolio only at the device level. Qualcomm has not

 6   asserted its patents offensively against other chipmakers, and Qualcomm, as it has committed

 7   previously, will agree to refrain from asserting its SEPs against a chipmaker unless it first makes

 8   a FRAND license offer. There is nothing anticompetitive about that practice, it does not exclude

 9   other chipmakers from any market, and it falls outside Aspen Skiing’s limited exception.9

10             In short, FRAND obligations create no antitrust duty to license cellular SEPs to other

11   chipmakers, and Qualcomm’s decision to adhere to the industry practice of licensing patents only

12   at the device level in no way connotes anticompetitive malice. Imposing an antitrust duty to deal

13   based on novel interpretations of the law would not only penalize Qualcomm for no reason, but

14   would also disrupt the global cellular industry at large.

15             D.     Qualcomm’s business agreements with Apple were not anticompetitive.
16             The FTC has also argued that two business agreements with a single customer, Apple,

17   were anticompetitive de facto exclusivity arrangements that harmed Apple, chip suppliers, and

18   other OEMs. The FTC cannot support those claims. To begin with, the agreements at issue are

19   no longer in effect, and there is no indication that Qualcomm is considering entering into similar

20   agreements with Apple or any other party. Accordingly, there is nothing for this Court to enjoin

21   with respect to Qualcomm’s dealings with Apple. See FTC v. Evans Prods. Co., 775 F.2d 1084,

22   1087 (9th Cir. 1985) (“[A]n injunction will issue only if the wrongs are ongoing or likely to

23   recur.”). But the FTC’s claims fail on their own terms as well.

24
     9
25     Device-level licensing also in no way offends the Third Circuit’s holding in Broadcom Corp. v.
     Qualcomm Inc., 501 F.3d 297, 314 (3d Cir. 2007), which held that an antitrust plaintiff must
26   allege and prove that the SEP-holder intentionally deceived an SDO pre-standardization, and that
     the SDO relied on the false promise. No SDO was intentionally deceived when deciding to
27   incorporate Qualcomm’s technology into a standard. To the contrary, SDOs were well aware of
     Qualcomm’s licensing practices when they adopted Qualcomm’s technologies into standard.
28   Moreover, Broadcom does not bind this Court and has never formed the basis of a successful
     antitrust claim in any district court. See Huawei, 2018 WL 4904895, at *11 n.11.
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 1             First, none of the agreements at issue harmed Apple, and Apple was in no way coerced

 2   into signing them. On the contrary, the evidence will show that in or around 2010, Apple—not

 3   Qualcomm—sought out a business arrangement through which Qualcomm would supply all of

 4   Apple’s modem chips. This was hardly unusual; before 2011, Apple relied exclusively on

 5   Infineon for its thin modem chips. Seeking a product with worldwide reach from a more capable

 6   supplier, Apple’s top executives reached out to Qualcomm to see about transitioning its chip

 7   business to Qualcomm. But there was a catch: Apple wanted Qualcomm to pay $1 billion to

 8   Apple for the design win. The two parties then negotiated at arm’s length and settled upon the

 9   2011 Transition Agreement (“TA”). The TA benefitted both parties but carried significant risk

10   for Qualcomm. Qualcomm committed to significant up-front and early payments to Apple,

11   needed to invest additional resources to meet Apple’s specifications and timeline, and

12   Qualcomm’s production of specifically designed, multimode thin modems would depend heavily

13   on just one purchaser. Because Apple was unwilling to make any firm volume commitments,

14   Qualcomm also risked paying Apple a tremendous amount of money up front and investing a

15   great deal of time and effort into a business relationship that could terminate before Qualcomm

16   could recoup its investments through chip sales—and whenever Apple decided it was in its

17   interest to move to another supplier. In the end, the parties agreed that, if Apple gave more than

18   de minimis business to a non-Qualcomm supplier, then it would forfeit future payments and,

19   under certain circumstances, would repay some of the money it had demanded.

20             In January 2013, the two companies decided to extend their business relationship through

21   the First Amendment to the Transition Agreement (“FATA”).10 Again, Apple again demanded

22   sizeable incentive payments from Qualcomm for future design wins, and through arm’s-length

23   negotiations the parties found a mutually-agreeable way to structure those incentives.

24             Neither of these agreements hurt Apple in any way, shape, or form.

25

26                                                                   It is absurd to argue that

27   10
       The FTC has at times pointed to a separate agreement entered in January 2013, the Business
28   Cooperation and Patent Agreement. But that agreement neither forms the basis for any exclusive
     dealing claim nor conditioned any payments to Apple on Apple’s using Qualcomm chips.
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 1   Qualcomm had one of the world’s largest companies over a barrel, or that Apple was victimized

 2   by receiving billions of dollars, along with cutting edge modem chips, from a reliable supplier.

 3             Second, none of the agreements at issue foreclosed competition in the “premium LTE”

 4   chip market. Indeed, nothing in the agreements prevented or excluded an equally capable and

 5   efficient competitor from seeking and winning Apple business, which is precisely what happened

 6   in 2016 when Apple decided to dual-source thin modems from Intel during the term of the

 7   agreement.11 Moreover, despite being (allegedly) foreclosed from competing, by 2018 Intel had

 8   managed to become Apple’s exclusive modem chip supplier for all current-generation iPhones

 9   and iPads. And even if the FTC could demonstrate that the Apple-Qualcomm agreements

10   foreclosed other chipmakers from winning Apple sockets, the fact remains that Apple sold only

11   16% of LTE-enabled handsets in 2017. There were plenty of other customers for chipmakers to

12   sell to if they were willing to invest the time and resources needed to compete in that market.

13             Third, the agreements in no way denied other OEMs access to modem chips. Nothing

14   prevented other chipmakers from selling chips to any OEMs (in fact, nothing prevented them

15   from seeking Apple’s business, and several did so during the agreements’ terms). Nor does Apple

16   business inexorably generate non-Apple business. Infineon and Intel both exclusively supplied

17   thin modems to Apple, but saw no significant non-Apple business as a result.

18             E.     The FTC has failed to demonstrate any past, present, or future harm to the
                      healthy and thriving cellular industry.
19

20             The Court cannot assess the FTC’s antitrust claims in a vacuum. It must consider “the

21   realities of the market,” including market conditions “at the time of trial.” Brooke Grp., 509 U.S.

22   at 236, 243. The evidence will bear out what every cellphone consumer knows: the cellular

23   industry is thriving. Indeed, current industry data show all the hallmarks of a healthy, high-

24   technology, high-innovation market.

25             To begin with, prices are doing exactly what one would expect in a competitive market.

26
     11
27     Evidence from Apple and other chipmakers will show that, between 2011 and at least 2014, no
     competitor could fulfil Apple’s stated technical needs—a fact that had nothing to do with
28   Qualcomm’s agreements with Apple. Indeed, Apple reviewed and rejected offers from other chip
     suppliers during the relevant period.
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 1   Average handset prices have fallen dramatically, with smartphone prices falling nearly 34%

 2   between 2010 and 2017. This trend changed only in late 2017 and 2018, when Apple—a

 3   supposed victim in this case—decided unilaterally to raise iPhone prices by dozens of percentage

 4   points, just as it was switching away from Qualcomm’s chips and even as its CMs stopped paying

 5   any royalties to Qualcomm. This development is completely at odds with the FTC’s theory:

 6   Apple stops using Qualcomm chips and stops paying supposedly inflated royalties—indeed, any

 7   royalties at all—to Qualcomm, and yet Apple dramatically increases its prices.

 8             Competition among chipmakers is and has been intense. Average selling prices for

 9   Qualcomm’s LTE modem chips have fallen by 44% from 2012 to 2018, and non-Qualcomm

10   modem chips have seen similar declines. The average price of transferring a megabyte of data

11   has plummeted from $8.00 in 2006 to one cent in 2016. While prices have fallen, quality and

12   data speeds have improved. The technology is not stagnating, as Qualcomm and its competitors

13   continue to invest heavily in research and development.

14             Put simply, the global modem chip industry is hardly one that appears to be chafing under

15   the anticompetitive yoke of a monopolist bent on market domination. In fact, no single company

16   dominates the competitive landscape in any segment of the modem chip industry. Qualcomm

17   faces strong and growing competition from Intel, Samsung, Huawei, MediaTek, and Spreadtrum.

18             Myopically focusing on only two segments of the modem chip industry as they existed

19   two years ago, the FTC argues that Qualcomm’s business practices have kept competitors out of

20   the CDMA and “premium LTE” chip markets. See FTC PFOF Nos. 132, 152. But pulling the

21   camera back to focus on the overall modem chip industry reveals one of the central fallacies

22   underlying the FTC’s liability theory. If the FTC’s theory held water—and the challenged

23   practices in fact froze out competition—then Qualcomm should dominate WCDMA and all LTE

24   tiers, not just CDMA and “premium LTE.” After all, Qualcomm employed the same challenged

25   business practices not only in the CDMA and “premium LTE” chip markets, but also in the

26   WCDMA and non-premium LTE chip markets. And yet the FTC has never alleged—and cannot

27   prove—that those same business practices stifled competition or discouraged entry into either of

28   those markets. That is because the practices at issue are not inherently anticompetitive.
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 1             The FTC further proves this point by failing to identify a single chipmaker that was forced

 2   out of or foreclosed from any relevant market due to any of Qualcomm’s allegedly

 3   anticompetitive conduct. Dr. Snyder will show that chipmakers have entered and left this

 4   dynamic industry for their own reasons, not because of some purported “tax.” Chipmakers have

 5   chosen to compete in some industry segments and not others; they have invested or cut back in

 6   research and development based on their own needs and considerations; some decided to focus on

 7   other aspects of their diversified businesses; and some have failed simply because it is hard to

 8   design and manufacture high-quality modem chips at competitive prices. These individualized

 9   decisions—and the market conditions that precipitated them—cannot be laid at Qualcomm’s feet.

10             F.     The FTC’s proposed remedies are both unnecessary and overbroad.
11             This Court can issue an injunction only if it concludes that one is necessary to stop or

12   prevent Qualcomm from violating the antitrust laws in the future; past wrongs are insufficient.

13   Evans, 775 F.2d at 1087. Any relief must be narrowly tailored to address specific conduct and

14   actual harm and must not interfere with legitimate business conduct. United States v. Grinnell

15   Corp., 384 U.S. 563, 577–80 (1966); Lamb-Weston, Inc. v. McCain Foods, Ltd., 941 F.2d 970,

16   974 (9th Cir. 1991). Overbreadth is a special problem in antitrust cases because inhibiting

17   legitimate competitive conduct harms the public interest. See Matsushita Elec. Indus. Co. v.

18   Zenith Radio Corp., 475 U.S. 574, 575 (1986) (“Mistaken inferences in cases such as this one are

19   especially costly, because they chill the very conduct the antitrust laws are designed to protect.”).

20   The traditional standards for injunctive relief also hold sway: the Court cannot issue an injunction

21   absent a showing of irreparable injury, if the balance of hardships tilts in Qualcomm’s favor, or if

22   an injunction would be contrary to the public interest. Winter v. N.R.D.C., 555 U.S. 7, 23–25

23   (2008); eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391–92 (2006); see also 15 U.S.C.

24   § 53(b) (allowing injunctive relief only after “weighing the equities” and determining that an

25   injunction “would be in the public interest”).

26             None of these factors is met here. The FTC will present no evidence regarding present or

27   future harm to competition. Accordingly, even if the Court accepts the FTC’s liability theory and

28   proof, there would still be no grounds to issue an injunction. The FTC must prove that
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 1   Qualcomm is now and will continue violating antitrust law in the future, and that the relevant

 2   markets are suffering and will continue to suffer significant competitive harm as a result. The

 3   FTC’s evidence will not support that conclusion.

 4             Nor will the FTC prove that the equities favor an injunction or that an injunction would

 5   serve the public interest. Indeed, the FTC has made no effort to assess how its proposed remedies

 6   would impact innovation and competition in the cellular industry at large—a remarkable omission

 7   given the role the FTC asks this Court to play in reshaping a critical industry. Although the

 8   FTC’s requested relief would undoubtedly cause unpredictable effects, some are obvious. The

 9   industry’s leading innovator will have to cut back on the research needed to design and

10   implement 5G technology. Shackling the Qualcomm innovation factory will harm downstream

11   competition because Qualcomm’s innovations and chip sales have helped smaller players

12   challenge larger, more entrenched, and increasingly vertically integrated companies like Samsung

13   and Apple (and before that, Motorola and Nokia). Moreover, in its zeal to hobble a quintessential

14   American technology company—without a shred of evidence regarding anticompetitive effects—

15   the FTC risks providing an opening for Huawei to dominate 5G technology, and stifling

16   innovation just when it’s needed most.

17             Furthermore, the FTC’s proposed remedies are far from narrowly tailored. The FTC

18   requests a broad injunction requiring Qualcomm to depart from the industry’s prevailing licensing

19   structure and renegotiate hundreds of agreements that Qualcomm reached over decades in good

20   faith and at arm’s length with sophisticated counterparties. The FTC’s proposed remedies apply

21   far beyond the alleged markets, the allegedly affected licenses, and the effects the FTC plans to

22   address at trial. They would disrupt smoothly functioning business relationships and supply

23   chains and could create chaos in an otherwise orderly functioning market. And, most

24   fundamentally, they are unnecessary to redress any existing or future harm to competition.

25   V.        CONCLUSION
26             The facts adduced at trial will show that Qualcomm has engaged in no anticompetitive

27   behavior and has caused no harm in any modem chip market. The Court should decline to enter

28   an injunction that would remedy no problem and injure a competitive and thriving industry.
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